                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:
                                                       Case No. 21-44887
SILVERSIDE SENIOR LIVING,                              Chapter 11
LLC, et al., 1                                         Hon. Lisa S. Gretchko

         Debtors.
                                                       Jointly Administered

    STIPULATION TO EXTEND DEADLINE TO FILE OBJECTIONS TO
         CONFIRMATION AND RESPONSES TO MOTIONS FOR
               ADMINISTRATIVE EXPENSE CLAIMS

         Debtors, the Subchapter V Trustee, the United States Trustee, Chippewa

Valley, LLC, and Gordon Food Services Inc., stipulate to the entry of the Order to

Extend Deadlines to File Objections to Confirmation and for the Debtors to Respond

to the Applications/Motions of Gordon Food Service Inc. and Chippewa Valley, LLC

for Allowance and Payment of Administrative Claim, in the form attached hereto as

Exhibit A.


                              [signatures on following page]




1The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No.
21-44888-lsg].



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Stipulated and Approved for Entry:

STROBL SHARP PLLC                               JILL M. GIES
                                                UNITED STATES TRUSTEE
By: ____/s/ Lynn M. Brimer_____                 Region 9
Lynn M. Brimer (P43291)                         By: /s/ Jill Gies_________
Attorney for the Debtors                        Jill Gies (P56345)
300 East Long Lake Road, Suite 200              Office of the U.S. Trustee
Bloomfield Hills, MI 48304-2376                 211 W. Fort Street, Ste. 700
Telephone: (248) 540-2300                       Detroit, MI 48226
Facsimile: (248) 645-2690                       Telephone: (313) 226-7999
lbrimer@stroblpc.com                            Jill.Gies@usdoj.gov


JAFFE RAITT HEUER &                             ICE MILLER LLP
WEISS, P.C.

By: /s/ Paul R. Hage                            By: /s/ John C. Cannizzaro
Paul R. Hage (P70460)                           John C. Cannizzaro
Hailey Kimball-Dexter (P81031)                  250 West Street, Ste. 700
27777 Franklin Road, Suite 2500                 Columbus, OH 43215
Southfield, MI 48034                            Phone: (614) 462-1070
Phone: (248) 351-3000                           John.Cannizzaro@icemiller.com
phage@jaffelaw.com                              Counsel to Gordon Food Service Inc.
hkimball@jaffelaw.com
Counsel to Chippewa Valley, LLC

SUBCHAPTER V TRUSTEE

By: /s/ Charles M. Mouranie
Charles M. Mouranie CTP
EDSI Consulting
U.S. Bankruptcy Sub Chapter V Trustee
Phone: 248.767.9492 15300 Commerce
Drive North, Suite 200
Dearborn, MI 48120
CMournaie@edisolutions.com


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                                      EXHIBIT A
                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:
                                                           Case No. 21-44887
SILVERSIDE SENIOR LIVING,                                  Chapter 11
LLC, et al., 2                                             Hon. Lisa S. Gretchko

         Debtors.
                                                           Jointly Administered

      ORDER TO ADJOURN CONFIRMATION HEARING, TO EXTEND
      DEADLINE TO FILE OBJECTIONS TO CONFIRMATION AND TO
      EXETND THE DEADLINE FOR DEBTORS TO RESPOND TO THE
    APPLICATION OF GORDON FOOD SERVICE INC FOR ALLOWANCE
        AND PAYMENT OF ADMINISTRATIVE PRIORITY CLAIM

         Debtors, the Subchapter V Trustee, the United States Trustee, Chippewa

Valley, LLC, and Gordan Food Service Inc. (collectively, “Parties”) having

stipulated to extending the deadline for Chippewa Valley, LLC, Gordon Food

Service Inc. and the United States Trustee to file objections to confirmation from

November 15, 2021 to November 17, 2021 and to extending the deadlines for the

Debtors’ to respond to the Application of Gordon Food Service Inc. for Allowance

and Payment of Administrative Priority Claim [Docket No. 108] and to respond to




2The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No.
21-44888-lsg].

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the Motion of Chippewa Valley, LLC for Entry of an Order Allowing Administrative

Expense Pursuant to 11 U.S.C. §§ 365(d)(3) and 503(b)(1)(A) [Docket No. 136]; the

Parties having filed their stipulation seeking the entry of this Order; the Court having

reviewed said stipulation; the Court having found good cause to be shown; and the

Court having otherwise been fully advised in the premises;


      IT IS FURTHER ORDERED that the deadline for Chippewa Valley, LLC,

Gordon Food Service Inc., and the United States Trustee to file objections to

confirmation is extended from November 15, 2021 to November 17, 2021.

      IT IS FURTHER ORDERED that the deadline for the Debtors to respond

to the Application of Gordon Food Service Inc. for Allowance and Payment of

Administrative Priority Claim [Docket No. 108] is extended to November 17, 2021.

      IT IS FURTHER ORDERED that the deadline for the Debtors to respond

to the Motion of Chippewa Valley, LLC for Entry of an Order Allowing

Administrative Expense Pursuant to 11 U.S.C. §§ 365(d)(3) and 503(b)(1)(A)

[Docket No. 136] is extended to November 17, 2021.

      IT IS SO ORDERED.




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